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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                      Plaintiff

v.                                  Case No.: 4:17−cr−00319−JM

Nathaniel Burroughs                                                         Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Motion Hearing regarding Motion to Revoke Bond (#29)
Motion to Revoke Bond (#33), has been set in this case for July 27, 2018, at 10:00 AM
before Magistrate Judge Jerome T. Kearney in Little Rock Courtroom # 4B in the Richard
Sheppard Arnold United States Courthouse located at 600 West Capitol Avenue, Little
Rock, Arkansas.



DATE: July 25, 2018                              AT THE DIRECTION OF THE COURT
                                                    JAMES W. McCORMACK, CLERK


                                             By: /s/ LaShawn M Coleman, Deputy Clerk




Electronic copy provided to:
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